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                         FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         ARIANE ROWLAND; JAMIE                   No. 24-5196
         SCHULZE,
                                                   D.C. No.
                                                1:20-cv-00059-
                      Plaintiffs - Appellees,
                                                     SPW
           v.
                                                  OPINION
         WATCHTOWER BIBLE AND
         TRACT SOCIETY OF NEW YORK,
         INC., WATCH TOWER BIBLE
         AND TRACT SOCIETY OF
         PENNSYLVANIA, INC.,

                      Defendants,

         and

         PHILIP BRUMLEY,

                      Not Party in District
                      Court - Appellant.


         TRACY CAEKAERT; CAMILLIA                No. 24-5200
         MAPLEY,                                   D.C. No.
                                                1:20-cv-00052-
                      Plaintiffs - Appellees,        SPW
           v.
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         WATCHTOWER BIBLE AND
         TRACT SOCIETY OF NEW YORK,
         INC., WATCH TOWER BIBLE
         AND TRACT SOCIETY OF
         PENNSYLVANIA, INC., BRUCE
         MAPLEY Sr.,

                          Defendants,

         and

         PHILIP BRUMLEY,

                          Not Party in District
                          Court - Appellant.

                   Appeal from the United States District Court
                           for the District of Montana
                    Susan P. Watters, District Judge, Presiding

                       Argued and Submitted May 22, 2025
                            San Francisco, California

                                 Filed July 7, 2025

             Before: Michelle T. Friedland and Salvador Mendoza, Jr.,
              Circuit Judges, and Robert S. Lasnik, District Judge. *

                             Opinion by Judge Lasnik

         *
          The Honorable Robert S. Lasnik, United States District Judge for the
         Western District of Washington, sitting by designation.
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                                   SUMMARY **


                    Attorney Sanctions / 28 U.S.C. § 1927

             The panel affirmed the district court’s order sanctioning
         attorney Philip Brumley under 28 U.S.C. § 1927 for
         submitting a signed affidavit that demonstrated a reckless
         disregard for providing an accurate and truthful accounting
         of facts relevant to determining whether the court had
         personal jurisdiction over defendant Watch Tower Bible and
         Tract Society of Pennsylvania (“WTPA”).
             Brumley, who was General Counsel for WTPA, argued
         that the district court lacked authority to sanction him under
         § 1927 because he signed the affidavit in question as a fact
         witness—not as an attorney of record admitted to practice
         before the district court, this Court, or any other court within
         the Ninth Circuit. The panel held that Brumley forfeited that
         argument on appeal, but nonetheless forgave that forfeiture
         as to the purely legal question presented.
             Under § 1927, a court may sanction “[a]ny attorney or
         other person admitted to conduct cases in any court of the
         United States or any Territory thereof who so multiplies the
         proceedings in any case unreasonably and vexatiously.” The
         sole issue on appeal is whether Brumley was an “attorney”
         within the meaning of § 1927 when he signed an affidavit
         testifying to “direct knowledge” gained in his role as
         “General Counsel” for WTPA.



         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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             The panel rejected Brumley’s argument that he was not
         acting as “an attorney” when he signed and submitted the
         affidavit because he was not an attorney of record in the
         underlying matter. That Brumley was not an attorney of
         record was immaterial. Counsel for Brumley stated at oral
         argument that Brumley was an attorney admitted to practice
         in the United States Supreme Court. Thus, Brumley was an
         attorney admitted to conduct cases in a court in the United
         States whose undisputed conduct before the district court
         may be reached by § 1927.
             The panel also rejected Brumley’s argument that, even if
         he was an attorney, he was not acting “as an attorney”
         because he was acting merely as a fact witness when he
         signed the affidavit. General counsels act “as attorneys”
         when they sign and submit affidavits in support of their
         clients in their capacities as general counsels and testify to
         facts known because of their roles. Here, Brumley did
         exactly that. Brumley accordingly acted “as an attorney”
         when he signed and submitted that affidavit as General
         Counsel of WTPA and may be sanctioned under § 1927.



                                 COUNSEL

         Ryan R. Shaffer (argued), Meyer Shaffer & Stepans PLLP,
         Missoula, Montana, for Plaintiffs-Appellees.
         Benjamin G. Shatz (argued) and Benjamin E. Strauss,
         Manatt Phelps & Phillips LLP, Los Angeles, California;
         Gerry P. Fagan, Christopher T. Sweeney, and Jordan W.
         FitzGerald, Moulton Bellingham PC, Billings, Montana; for
         Appellant.
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                                 OPINION

         LASNIK, District Judge:

             Attorney Philip Brumley was sanctioned by the district
         court under 28 U.S.C. § 1927 for submitting a signed
         affidavit that demonstrated a reckless disregard for
         providing an accurate and truthful accounting of facts
         relevant to determining whether the court had personal
         jurisdiction over defendant Watch Tower Bible and Tract
         Society of Pennsylvania (“WTPA”), causing the
         proceedings to be multiplied for seventeen months.
         Brumley, an attorney admitted to practice before the United
         States Supreme Court, signed the affidavit in his role as
         General Counsel for WTPA but contends he cannot be
         sanctioned under § 1927 because he was acting as a fact
         witness, not as an attorney, when he signed the affidavit. We
         disagree and therefore affirm.
                                      I.
             Two Jehovah’s Witnesses corporations were sued in
         federal court by women who alleged they had been
         repeatedly sexually molested as young girls in the 1970s and
         80s by Jehovah’s Witnesses officials in Hardin, Montana.
         One of the defendant corporations, WTPA, moved to dismiss
         the lawsuit for lack of personal jurisdiction. The sole
         evidentiary basis for WTPA’s motion to dismiss was an
         affidavit signed by Brumley. In the affidavit, Brumley
         identified himself as “General Counsel for defendant Watch
         Tower Bible and Tract Society of Pennsylvania” and stated
         that “[i]n this role, I have direct knowledge of the
         information contained in this Affidavit.”
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             The majority of Brumley’s statements in the affidavit
         were made in the present tense. Id. For example, Brumley’s
         affidavit stated that WTPA “has no contact with
         congregations of Jehovah’s Witnesses located in Montana,”
         “does not establish or disseminate policy or procedure to
         congregations of Jehovah’s Witnesses in Montana,” and
         “does not appoint or remove elders, ministerial servants or
         publishers in congregations of Jehovah’s Witnesses in
         Montana.” Plaintiffs produced evidence that raised questions
         as to whether Brumley’s present-tense statements in his
         affidavit would be true if applied to the relevant time period,
         the 1970s and 80s. Finding that the relevant facts were
         controverted, the district court ordered jurisdictional
         discovery.
             More than a year later, citing evidence obtained during
         discovery and from independent sources, plaintiffs served
         WTPA with a motion for sanctions under Federal Rule of
         Civil Procedure 11. The motion alleged Brumley’s
         representations to the district court had been “knowingly
         false and misleading.” Fifteen days later, WTPA withdrew
         its motion to dismiss for lack of personal jurisdiction,
         triggering the safe harbor provision of Rule 11.
             Plaintiffs next filed for sanctions under 28 U.S.C.
         § 1927, contending that Brumley and another WTPA
         attorney had unreasonably and vexatiously multiplied the
         proceedings for the purpose of obstructing plaintiffs’ claims.
         After briefing and oral argument, the district court agreed
         with plaintiffs only as to Brumley, finding that the
         information collected by plaintiffs demonstrated “that in past
         decades WTPA played a more involved and pivotal role in
         the operation of Jehovah’s Witness congregations” than
         what Brumley had stated, and that “Brumley, as General
         Counsel for WTPA, should have been able to access the
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         information at the time he made his sworn statements.” The
         district court continued: “By seemingly failing to investigate
         and provide a more accurate description of WTPA’s
         activities in past decades, Brumley’s actions demonstrate, at
         minimum, a reckless disregard for providing an accurate and
         truthful accounting of WTPA’s role.” Brumley’s conduct,
         the district court held, represented “a conscious decision to
         provide only a limited depiction of WTPA’s corporate
         activities” and “permitted WTPA to file its motion to dismiss
         that then multiplied the proceedings for 17 months through
         jurisdictional discovery and motions to compel.” The district
         court accordingly sanctioned Brumley under § 1927 and
         ordered him to personally satisfy $158,448.11 in excess
         costs, expenses, and fees incurred by plaintiffs as a result of
         his affidavit.
             Brumley now appeals. 1
                                          II.
             “We review . . . an award of § 1927 sanctions for an
         abuse of discretion.” Kaass Law v. Wells Fargo Bank, N.A.,
         799 F.3d 1290, 1292 (9th Cir. 2015) (quoting GRiD Sys.
         Corp. v. John Fluke Mfg. Co., 41 F.3d 1318, 1319 (9th Cir.
         1994) (per curiam)). “The construction or interpretation of
         28 U.S.C. § 1927 is a question of law, and is reviewed de
         novo.” Id. “The factual findings upon which a district court
         bases an award of sanctions are reviewable under a clearly
         erroneous standard.” United States v. Associated



         1
           Prior to this appeal, Brumley sought an interlocutory appeal of the
         district court’s order before final judgment was entered. We dismissed
         that interlocutory appeal for lack of jurisdiction. See Caekaert v.
         Brumley, No. 23-35329, 2024 WL 2717403 (9th Cir. 2024).
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         Convalescent Enters., Inc., 766 F.2d 1342, 1345 (9th Cir.
         1985).
                                      III.
                                      A.
             On appeal, Brumley argues that the district court lacked
         authority to sanction him under § 1927 because he signed the
         affidavit in question as a fact witness—not as an attorney of
         record admitted to practice before the district court, this
         Court, or any other court within the Ninth Circuit. Brumley
         forfeited that argument on appeal. We nonetheless forgive
         that forfeiture as to the purely legal question presented.
             Although there is no bright line rule to determine
         whether an issue has been properly raised below, an issue is
         generally deemed forfeited where it was not “raised
         sufficiently for the trial court to rule on it.” In re Mercury
         Interactive Corp. Sec. Litig., 618 F.3d 988, 992 (9th Cir.
         2010) (quoting Whittaker Corp. v. Execuair Corp., 953 F.2d
         510, 515 (9th Cir. 1992)). Here, neither Brumley nor WTPA
         presented the not-acting-as-a-lawyer argument to the district
         court before that court ruled on the motion for § 1927
         sanctions. Instead, ahead of the district court’s sanctions
         ruling, WTPA argued only that Brumley had not made any
         “inaccurate, untrue, misleading, or deceiving” statements to
         the district court. WTPA’s argument that Brumley had not
         been acting as an attorney was first introduced two months
         after the entry of the district court’s order sanctioning
         Brumley under § 1927, when WTPA was disputing the
         amount of the sanctions award. Therefore, Brumley has
         forfeited the argument that he was not acting as an attorney
         when he signed the affidavit in question.
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              Still, we have discretion to forgive the forfeiture if “the
         issue presented is purely one of law and the opposing party
         will suffer no prejudice as a result of the failure to raise the
         issue in the trial court.” Kaass Law v. Wells Fargo Bank,
         N.A., 799 F.3d 1290, 1293 (9th Cir. 2015) (quoting United
         States v. Echavarria-Escobar, 270 F.3d 1265, 1267-68
         (9th Cir. 2001)). Here, those conditions are satisfied. The
         issue presented here is purely one of law because the
         material facts are undisputed: Brumley does not contest the
         district court’s determination that he signed the affidavit as
         General Counsel of WTPA attesting to facts of which he had
         “direct knowledge” because of his role as General Counsel;
         that his conduct demonstrated “at [a] minimum, a reckless
         disregard for providing an accurate and truthful accounting
         of WTPA’s role”; or that his conduct “permitted WTPA to
         file its motion to dismiss that then multiplied the proceedings
         for 17 months through jurisdictional discovery and motions
         to compel.” And no prejudice to the opposing party will
         result from our reaching the issue given that, as explained
         next, we agree with plaintiffs on the merits. See infra Section
         III.B; see also Kaass Law, 799 F.3d at 1293 (quoting
         Echavarria-Escobar, 270 F.3d at 1267-68). We accordingly
         forgive Brumley’s forfeiture and decide the merits of
         Brumley’s argument.
                                       B.
             Under 28 U.S.C. § 1927, a court may sanction “[a]ny
         attorney or other person admitted to conduct cases in any
         court of the United States or any Territory thereof who so
         multiplies the proceedings in any case unreasonably and
         vexatiously,” and the court may require the sanctioned
         attorney to “satisfy personally the excess costs, expenses,
         and attorneys’ fees reasonably incurred because of such
         conduct.” The sole issue on appeal is whether Brumley was
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          an “attorney” within the meaning of § 1927 when he signed
          an affidavit testifying to “direct knowledge” gained in his
          role as “General Counsel” for WTPA. Brumley argues that
          he was not acting as “an attorney” when he signed and
          submitted the affidavit because he was not an attorney of
          record in the underlying matter. He further argues that he
          was acting only as a fact witness so could not have been
          acting as “an attorney” when he signed the affidavit. We
          disagree.
              That Brumley was not an attorney of record is
          immaterial. In Caputo v. Tungsten Heavy Powder, Inc., 96
          F.4th 1111 (9th Cir. 2024), we stated that “[t]he plain
          language of [§ 1927] . . . supports the conclusion that the
          attorneys of record for a specific client do not represent the
          entire universe of individuals who may be sanctioned
          pursuant to § 1927.” Id. at 1153. Caputo also forecloses
          Brumley’s argument that he may not be sanctioned under
          § 1927 because he is not admitted to practice before the
          district court or any court in the Ninth Circuit. Id. We further
          explained in Caputo that “§ 1927’s language is also broad in
          that it can reach ‘any attorney or other person admitted to
          conduct cases in any court of the United States’ provided
          they personally ‘multiply the proceedings in any case
          unreasonably and vexatiously.’” Id. Counsel for Brumley
          stated at oral argument that Brumley is an attorney admitted
          to practice in the United States Supreme Court. Thus,
          Brumley is an attorney admitted to conduct cases in a court
          of the United States whose undisputed conduct before the
          district court may be reached by § 1927. There was therefore
          no abuse of discretion in the district court’s decision to
          sanction Brumley under § 1927 for unreasonably and
          vexatiously multiplying proceedings.
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              Brumley further argues that even if he was an attorney,
          he was not acting “as an attorney” because he was acting
          merely as a fact witness when he signed the affidavit. That
          Brumley attested only to facts does not change our
          conclusion. Brumley’s proposed reading of § 1927—that an
          attorney must be acting “as an attorney” to be sanctioned—
          is debatable. Counsel for Brumley expressed concern that a
          lawyer admitted to conduct cases in a federal court who
          witnesses an accident might become subject to § 1927
          sanctions if the lawyer submits a signed affidavit in federal
          court proceedings related to that accident. We note that
          independent of any laws or court rules, attorneys are bound
          by rules of professional conduct that impose duties on
          attorneys as a requirement of holding a law license. Those
          duties include the duty of candor to the tribunal. Judges are
          well aware of this duty and as a result may give more weight
          to, for example, a sworn affidavit signed and filed by an
          attorney. The essence of § 1927 is that when an attorney
          abuses the extra trust placed in them by a court, and thereby
          wastes a significant amount of the court’s time, that attorney
          may be sanctioned and, where appropriate, ordered to
          personally pay the excess costs, expenses, and attorneys’
          fees traceable to the relevant conduct. Regardless, we need
          not and do not decide whether an attorney must be acting “as
          an attorney” for § 1927 to apply because the undisputed facts
          here plainly establish that Brumley was acting “as an
          attorney.” General counsels act “as attorneys” when they
          sign and submit affidavits in support of their clients in their
          capacities as general counsels and testify to facts known
          because of their roles. Here, Brumley did exactly that.
          Brumley accordingly acted “as an attorney” when he signed
          and submitted that affidavit as General Counsel of WTPA
          and may be sanctioned under § 1927.
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                                    IV.
             For all the foregoing reasons, we affirm the district
          court’s order imposing § 1927 sanctions on Brumley.
